                          Case 5:19-cv-00802-NC Document 42 Filed 05/10/19 Page 1 of 6


                        LATHAM & WATKINS LLP
                    1   Richard G. Frenkel (Bar No. 204133)
                           rick.frenkel@lw.com
                    2   140 Scott Drive
                        Menlo Park, CA 94025
                    3   Telephone: (650) 328-4600
                        Facsimile: (650) 463-2600
                    4
                        Matthew J. Moore (pro hac vice)
                    5      matthew.moore@lw.com
                        Adam M. Greenfield (pro hac vice)
                    6      adam.greenfield@lw.com
                        Rebecca L. Rabenstein (pro hac vice)
                    7      rebecca.rabenstein@lw.com
                        Diane E. Ghrist (Bar No. 300487)
                    8      diane.ghrist@lw.com
                        Hwa Young Jin (pro hac vice)
                    9      hwayoung.jin@lw.com
                        555 Eleventh Street, NW, Suite 1000
               10       Washington, DC 20004
                        Telephone: (202) 637-2200
               11       Facsimile: (202) 637-2201
               12       Attorneys for     Plaintiff    CertainTeed
                        Gypsum, Inc.
               13

               14

               15                                     UNITED STATES DISTRICT COURT
               16                                NORTHERN DISTRICT OF CALIFORNIA
               17                               SAN JOSE DIVISION JUDICIAL DISTRICT
               18

               19       CERTAINTEED GYPSUM, INC.,                    CASE NO. 5:19-CV-00802-LHK
               20                        Plaintiff,                  PLAINTIFF’S REQUEST FOR JUDICIAL
                                                                     NOTICE    IN  SUPPORT     OF  ITS
               21              v.                                    OPPOSITION     TO    DEFENDANTS’
                                                                     MOTION TO DISMISS PLAINTIFF’S
               22       PACIFIC COAST BUILDING PRODUCTS,             COMPLAINT      AND     IN    THE
                        INC. AND PABCO BUILDING                      ALTERNATIVE FOR A STAY
               23       PRODUCTS, LLC,
               24                        Defendants.                 Date: July 25, 2019
                                                                     Time: 1:30 p.m.
               25                                                    Courtroom: 8, 4th Floor, San Jose
                                                                     Judge: Hon. Lucy H. Koh
               26
               27
               28

ATTORNEYS AT LAW                                                                       Plaintiff’s Request for Judicial Notice
 SILICON VA LLE Y                                                                                   Case No. 5:19cv802-LHK
                         Case 5:19-cv-00802-NC Document 42 Filed 05/10/19 Page 2 of 6



                    1            Pursuant to Rule 201 of the Federal Rules of Evidence, Plaintiff CertainTeed Gypsum,

                    2   Inc. (collectively, “CertainTeed”) hereby respectfully requests that, in connection with its

                    3   Opposition to Defendants’ Motion to Dismiss Complaint or in the Alternative for a Stay filed

                    4   and served concurrently herewith, the Court take judicial notice of the documents listed

                    5   below.

                    6            Courts may take judicial notice of facts that are “not subject to reasonable dispute,”

                    7   such as those that can be “accurately and readily determined from sources whose accuracy

                    8   cannot reasonably be questioned.” Fed. R. Evid. 201(b)(2). Rule 201(d) provides that the

                    9   court may take “judicial notice at any stage of the proceeding.” Under Rule 201(c)(2), a court

                10      “must take judicial notice if a party requests it and the court is supplied with the necessary

                11      information.”

                12               CertainTeed respectfully requests that the Court take judicial notice of the documents

                13      filed herewith as Exhibits 1-10 of this request. These documents fall into one or both of two

                14      categories: (1) pleadings filed in other courts, and/or (2) publicly available records from

                15      proceedings before the US. Patent and Trademark Office (“PTO”). Both of these matters are

                16      properly the subject of judicial notice.

                17               A.     DOCUMENTS FROM OTHER COURTS

                18               Pleadings filed in other courts are part of the public record and “are materials that

                19      cannot be reasonably disputed and whose accuracy cannot be reasonably questioned.”

                20      Southmark Prime Plus, L.P. v. Falzone, 776 F. Supp. 888, 892 (D. Del. 1991). “[T]he Court

                21      can take judicial notice of the contents of court records from another jurisdiction …. The

                22      contents of the court records that may be judicially noticed include the briefs and petitions of

                23      the parties.” Id. (citations omitted); see also Genentech, Inc. v. U.S. Int’l Trade Comm’n,

                24      122 F.3d 1409, 1417 n.7 (Fed. Cir. 1997) (taking judicial notice of protective orders filed in

                25      district court and noting that the most frequent use of judicial notice is in noticing the contents

                26      of court records); United States ex rel. Geisler v. Walters, 510 F.2d 887, 890 n.4 (3d Cir.

                27      1975) (taking judicial notice of briefs and petitions filed in other courts).

ATTORNEYS AT LAW28                                                                            Plaintiff’s Request for Judicial Notice
 SILICON VA LLE Y
                                                                          2                                Case No. 5:19cv802-LHK


                28
                         Case 5:19-cv-00802-NC Document 42 Filed 05/10/19 Page 3 of 6



                    1           B.         PTO DOCUMENTS

                    2           Documents that are part of a patent’s file history are part of the public record, and “can

                    3   be accurately and readily determined from sources whose accuracy cannot reasonably be

                    4   questioned.” Fed. R. Evid. 201(b). For this reason, the Federal Circuit and federal courts

                    5   around the country have taken judicial notice of Patent Office filings. See Grp. One Ltd. v.

                    6   Hallmark Cards, Inc., 407 F.3d 1297, 1306 (Fed. Cir. 2005) (district court could take judicial

                    7   notice of patent’s reinstatement); Vitek Sys., Inc. v. Abbott Labs., 675 F.2d 190, 192 n.4 (8th

                    8   Cir. 1982) (“[T]his court may take judicial notice of Patent and Trademark Office

                    9   documents.”); St. John’s Univ. v. Bolton, 757 F. Supp. 2d 144, 154 n.4 (E.D.N.Y 2010) (“The

                10      court takes judicial notice of the patents’ issuance and contents under Federal Rule of

                11      Evidence 201 because the patents are documents issued by the PTO, and are ‘capable of

                12      accurate and ready determination by resort to sources whose accuracy cannot reasonably be

                13      questioned.’” (citation omitted)); Telebrands Corp. v. Del Labs., Inc., 719 F. Supp. 2d 283,

                14      287 n.3 (S.D.N.Y. 2010) (“The Court may properly take judicial notice of official records of

                15      the United States Patent and Trademark Office and the United States Copyright Office.”).

                16              CertainTeed thus respectfully submits that the following are properly subject to

                17      judicial notice:

                18              Exhibit 1:    Declaration of Rebecca Faulk in Support of Defendant CertainTeed

                19      Gypsum Manufacturing, Inc.’s Motion to Stay Proceedings, Pacific Coast Building Products,

                20      Inc. v. CertainTeed Gypsum Manufacturing, Inc., No. 4:18-cv-4165-SOH (W.D. Ark. Feb. 15,

                21      2019), Dkt. No. 38-1.

                22              Exhibit 2:    Defendants’ Preliminary Claim Construction and Extrinsic Evidence

                23      served on July 23, 2018, pursuant to Northern District of California Patent Local Rule 4-2 in

                24      Pacific Coast Building Products, Inc. v. CertainTeed Gypsum, Inc., No. 5:18-cv-346-LHK

                25      (N.D. Cal.).

                26              Exhibit 3: Patent and Trademark Assignment Agreement executed on February 14,

                27      2014 and submitted to the U.S. Patent and Trademark Office (“USPTO”) on February 17,

ATTORNEYS AT LAW28                                                                           Plaintiff’s Request for Judicial Notice
 SILICON VA LLE Y
                                                                         3                                Case No. 5:19cv802-LHK


                28
                         Case 5:19-cv-00802-NC Document 42 Filed 05/10/19 Page 4 of 6



                    1   2014,    retrieved   from     the    USPTO’s       Patent   Assignment       Search       website

                    2   (https://assignment.uspto.gov/patent/index.html#/patent/search) on April 16, 2019.

                    3           Exhibit 4: Patent Assignment Abstract of Title regarding U.S. Patent No. 10,125,492

                    4   (Application No. 13/783,165) retrieved from the USPTO’s Public Patent Application

                    5   Information Retrieval website (https://portal.uspto.gov/pair/PublicPair) on August 22, 2018.

                    6           Exhibit 5: Patent Assignment Abstract of Title regarding U.S. Patent No. 10,132,076

                    7   (Application No. 13/783,179) retrieved from the USPTO’s Public Patent Application

                    8   Information Retrieval website (https://portal.uspto.gov/pair/PublicPair) on August 22, 2018.

                    9           Exhibit 6: Exhibit 9 to the Declaration of Rebecca L. Rabenstein in Support of

                10      Defendant CertainTeed Gypsum Manufacturing, Inc.’s Opposition to Plaintiffs’ Motion to

                11      Dismiss, Pacific Coast Building Products, Inc. v. CertainTeed Gypsum Manufacturing, Inc.,

                12      No. 4:18-cv-4165-SOH (W.D. Ark. Apr. 29, 2019), Dkt. No. 49-10.

                13              Exhibit 7: Exhibit 10 to the Declaration of Rebecca L. Rabenstein in Support of

                14      Defendant CertainTeed Gypsum Manufacturing, Inc.’s Opposition to Plaintiffs’ Motion to

                15      Dismiss, Pacific Coast Building Products, Inc. v. CertainTeed Gypsum Manufacturing, Inc.,

                16      No. 4:18-cv-4165-SOH (W.D. Ark. Apr. 29, 2019), Dkt. No. 49-11.

                17              Exhibit 8: Exhibit 11 to the Declaration of Rebecca L. Rabenstein in Support of

                18      Defendant CertainTeed Gypsum Manufacturing, Inc.’s Opposition to Plaintiffs’ Motion to

                19      Dismiss, Pacific Coast Building Products, Inc. v. CertainTeed Gypsum Manufacturing, Inc.,

                20      No. 4:18-cv-4165-SOH (W.D. Ark. Apr. 29, 2019), Dkt. No. 49-12.

                21              Exhibit 9: Exhibit 12 to the Declaration of Rebecca L. Rabenstein in Support of

                22      Defendant CertainTeed Gypsum Manufacturing, Inc.’s Opposition to Plaintiffs’ Motion to

                23      Dismiss, Pacific Coast Building Products, Inc. v. CertainTeed Gypsum Manufacturing, Inc.,

                24      No. 4:18-cv-4165-SOH (W.D. Ark. Apr. 29, 2019), Dkt. No. 49-13.

                25              Exhibit 10: Exhibit 13 to the Declaration of Rebecca L. Rabenstein in Support of

                26      Defendant CertainTeed Gypsum Manufacturing, Inc.’s Opposition to Plaintiffs’ Motion to

                27      Dismiss, Pacific Coast Building Products, Inc. v. CertainTeed Gypsum Manufacturing, Inc.,

ATTORNEYS AT LAW28                                                                        Plaintiff’s Request for Judicial Notice
 SILICON VA LLE Y
                                                                       4                               Case No. 5:19cv802-LHK


                28
                          Case 5:19-cv-00802-NC Document 42 Filed 05/10/19 Page 5 of 6



                    1    No. 4:18-cv-4165-SOH (W.D. Ark. Apr. 29, 2019), Dkt. No. 49-14.

                    2

                    3              In addition to the above exhibits, CertainTeed further respectfully submits that the

                    4   following are properly subject to judicial notice. However, due to their voluminous nature and

                    5   the fact that they can be found in the docket of co-pending, related case no. 5:18-cv-346-LHK,

                    6   CertainTeed is not including copies of them as exhibits to this notice:

                    7         Declaration of Dr. D. Paul Miller filed on August 17, 2018, pursuant to Northern District

                    8   of California Patent Local Rule 4-3 in Pacific Coast Building Products, Inc. v. CertainTeed

                    9   Gypsum, Inc., No. 5:18-cv-346-LHK (N.D. Cal. Aug. 17, 2018), Dkt. No. 75-2.

                10            Declaration of Matthew Risinger filed on August 17, 2018, pursuant to Northern District

                11      of California Patent Local Rule 4-3 in Pacific Coast Building Products, Inc. v. CertainTeed

                12      Gypsum, Inc., No. 5:18-cv-346-LHK (N.D. Cal. Aug. 17, 2018), Dkt. No. 75-1.

                13            Defendants’ Responsive Claim Construction Brief filed on October 12, 2018, pursuant to

                14      Northern District of California Patent Local Rule 4-5 in Pacific Coast Building Products, Inc. v.

                15      CertainTeed Gypsum, Inc., No. 5:18-cv-346-LHK (N.D. Cal. Oct. 12, 2018), Dkt. No. 82.

                16

                17

                18

                19
                20

                21

                22

                23

                24

                25

                26
                27

ATTORNEYS AT LAW28                                                                           Plaintiff’s Request for Judicial Notice
 SILICON VA LLE Y
                                                                         5                                Case No. 5:19cv802-LHK


                28
                          Case 5:19-cv-00802-NC Document 42 Filed 05/10/19 Page 6 of 6



                    1   Dated: May 10, 2019                Respectfully submitted,

                    2

                    3                                      CERTAINTEED GYPSUM, INC.

                    4                                      /s/ Richard G. Frenkel
                                                           Richard G. Frenkel (Bar No. 204133)
                    5                                      rick.frenkel@lw.com
                                                           LATHAM & WATKINS LLP
                    6                                      140 Scott Drive
                                                           Menlo Park, CA 94025
                    7                                      Telephone: (650) 328-4600
                                                           Facsimile: (650) 463-2600
                    8

                    9                                      Matthew J. Moore (pro hac vice)
                                                              matthew.moore@lw.com
                10                                         Adam M. Greenfield (pro hac vice)
                                                              adam.greenfield@lw.com
                11                                         Rebecca L. Rabenstein (pro hac vice)
                                                              rebecca.rabenstein@lw.com
                12                                         Diane E. Ghrist (Bar No. 300487)
                                                              diane.ghrist@lw.com
                13                                         Hwa Young Jin (pro hac vice)
                                                              hwayoung.jin@lw.com
                14                                         LATHAM & WATKINS LLP
                                                           555 Eleventh Street, NW, Suite 1000
                15                                         Washington, DC 20004
                                                           Telephone: (202) 637-2200
                16                                         Facsimile: (202) 637-2201

                17                                         Attorneys for Plaintiff
                                                           CertainTeed Gypsum, Inc.
                18

                19
                20

                21

                22

                23

                24

                25

                26
                27

ATTORNEYS AT LAW28                                                              Plaintiff’s Request for Judicial Notice
 SILICON VA LLE Y
                                                             6                               Case No. 5:19cv802-LHK


                28
